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                                   STATEMENT OF FACTS

        Your affiant, Alan T. Siska, is a Special Agent with the Federal Bureau of Investigation
assigned to the Oklahoma City Division, Tulsa Resident Agency. In my duties as a special agent,
I am authorized and responsible for conducting investigations of numerous criminal and national
security violations falling within the FBI’s jurisdiction. During my career as an FBI Agent, I have
investigated violent crimes and threats against national security to include crimes against the
United States Government. Currently, I am tasked with investigating criminal activity in and
around the Capitol grounds on January 6, 2021. As a Special Agent, I am authorized by law or by
a Government agency to engage in or supervise the prevention, detection, investigation, or
prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.


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        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                        Facts Specific to the Investigation of Levi Gable

                                             Witness 1

        On or about January 10, 2021, an individual (“Witness 1”) submitted a public tip through
the FBI’s website alleging Levi Gable (“GABLE”) entered the United States Capitol building on
January 6, 2021. Witness 1 was Gable’s college fraternity brother approximately 15 years ago, and
Witness 1 recognized GABLE in ten videos GABLE posted to social media from January 6, 2021,
that appear to have been filmed by GABLE from inside the U.S. Capitol building.

        Witness 1 provided FBI agents with, among other items, the above-mentioned videos and
a screenshot of a Facebook post which was purportedly posted by GABLE. Witness 1 advised that
the videos and post were taken directly from GABLE’s Facebook page, which displayed the name
“Levi Gable.” Relevant portions of the provided Facebook post have been transcribed below:

       I was among the first people to make our way into the US Capitol Building. Those
       in the building first were there in protest of Vice President Mike Pence’s statement
       that he would not stand with the American people and challenge the results of
       2020’s stolen presidential election. The proof is undeniable for anyone who takes
       an objective look at the accusations of election fraud, provided you are looking
       somewhere other than the fake news and social media…. (ellipsis existing)

       Capitol Police backed away from their stations and allowed protestors to make our
       way to the building. As you will see, we were there to make our voices be heard,
       as they were apparently not in the recent election. We pushed through the halls end
       to end, with no violence, no punches thrown or bullets fired, room to room, moving
       throughout the halls, letting our voices be heard. . . .

       Once inside the halls, there were hundreds of police officers scattered throughout.
       They were vehemently restricting access to some areas. . . . While it did get a little
       tense at times and there was certainly a few doors forced open, it was peaceful. . . .

       It was later that things turned noticeably more violent, after the number of
       protestors were EXPONENTIALLY reduced and the majority of us who came to
       let our voices be heard felt we had accomplished just that and headed back to our
       hotels.

       The videos provided by Witness 1 from GABLE’s Facebook page show scenes of
individuals yelling or chanting while inside the U.S. Capitol building. It appears that GABLE is
behind the camera, filming. For instance, one seven-second video shows a first-person view of a


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group of individuals inside the United States Capitol building, yelling “Our house!” repeatedly in
front of a line of law enforcement officers. A three-second video shows a first-person view of a
group of individuals inside the United States Capitol building near the Memorial Door. In the
video, several open doors that looked to have been breached are visible and rioters can be heard
repeatedly yelling “Nancy!” Another video shows an individual speaking with a law enforcement
officer from a location that appears to be inside the Capitol building. The law enforcement officer
is blocking the path of the individual in the video and telling the individual that he cannot go a
certain way. Your affiant compared one of the videos obtained from Witness 1 with Capitol
surveillance footage. A screenshot from the Facebook video is below on the left; a screenshot from
the Capitol surveillance footage is below on the right. In the screenshot from the Capitol
surveillance footage, GABLE can be seen holding his cellular phone, filming the image on the left.
A yellow arrow points to GABLE.




       Facebook records confirmed that the subject account belonged to account owner Levi
Gable. The email associated with the Facebook account is the same email address GABLE
provided to law enforcement during the below-mentioned interview. GABLE’s Facebook page,
however, was deleted sometime after the above-mentioned postings, and the FBI was unable to
independently obtain the postings provided by Witness 1.




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                                           Witness 2

        On or about January 13, 2021, a second witness (“Witness 2”) submitted a public tip
through the FBI’s website alleging GABLE entered the United States Capitol building on January
6, 2021. Witness 2 submitted two screenshots of Facebook posts to the FBI. Witness 2 was
concerned with the verbiage in the posts. In one of the posts a third party tagged Levi Gable and
posted the caption, “The calm is over.” The third party also linked to a video titled, “The Calm
Before the Storm.” GABLE then reposted the third party’s post with the caption, “Everyone is in
for a surprise. It’s happening. There is a plan in motion.” Witness 2 advised the screenshots were
taken directly from GABLE’s Facebook profile page, which displayed the name “Levi Gable.”
Witness 2 also provided the Unique Identifier (“UID”) for GABLE’s Facebook account, which
matched the UID in legal records provided by Facebook for GABLE’s account.

        GABLE is only known to Witness 2 through mutual friends on Facebook; Witness 2 does
not know GABLE personally. Witness 2 and GABLE are not “friends” on Facebook, and Witness
2 only saw GABLE’s Facebook posts after they were re-posted by another friend of Witness 2 on
Facebook.

       The FBI was unable to independently obtain the Facebook posts provided by Witness 2
because GABLE’s Facebook page was deleted prior to FBI attempts to obtain the postings.

                                      Interview of Gable

       On January 21, 2021, GABLE was interviewed at his place of employment by Task Force
Officers with the FBI’s Joint Terrorism Task Force. GABLE provided the following information:

        GABLE stated that he flew to Washington, D.C. on January 5, 2021, with the intent to
attend the January 6, 2021 rally. He stayed at a Marriott-owned hotel during his visit to
Washington, D.C. On January 6, GABLE walked from his hotel to the National Mall to attend the
rally. He then walked to the U.S. Capitol from the rally on Constitution Avenue. He observed a
large group of individuals fighting at the United States Capitol building. GABLE stated it looked
like the individuals were attempting to enter the Capitol building.

       Multiple times during the interview GABLE denied entering the United States Capitol
building.

       GABLE stated that he flew back to Tulsa, Oklahoma on January 7, 2021. According to
GABLE, he became aware of rally attendees being harassed for attending, so he deleted his
personal Facebook account to avoid future harassment. He identified his personal Facebook
account as “Levi Gable.”

       During the interview, GABLE provided the FBI his residence address, telephone number—
a number ending -9477, and email address. Records from Marriott International, Inc. confirmed
GABLE’s stay in Washington, D.C. from January 5, 2021, to January 8, 2021. The email address
and phone number provided to Marriott are the same email and phone number that GABLE
provided to law enforcement during the interview. Also, legal records obtained from Verizon


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confirmed that the cellphone associated with this telephone number is subscribed to GABLE and
one other individual.

                      Gable Identified in Capitol Surveillance Footage

        The FBI reviewed Capitol surveillance footage and located an individual appearing to be
GABLE inside the United States Capitol Building during the events that took place on January 6,
2021. The FBI provided screenshots, images 1 through 4 below, from the footage of this individual
to the FBI Task Force Officers who interviewed GABLE. The FBI Task Force Officers recognized
the individual indicated by the yellow arrow in the screenshots as GABLE. The below screenshots
show GABLE in various areas of the United States Capitol building.

                                            Image 1




        In Image 1, GABLE is seen holding a cellular phone in his left hand. In Image 1, GABLE
is located in the National Statuary Hall located in the United States Capitol building. The
timestamp for Image 1 is January 6, 2021, at approximately 2:41 p.m.




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                                             Image 2




         In Image 2, GABLE is seen wearing a black/dark-colored jacket, holding a cellular phone
in his right hand, and facing the exterior of the United States Capitol building. In Image 2, GABLE
is located at the Rotunda Door, near an exit to the building. The timestamp for Image 2 is January
6, 2021, at approximately 2:46 p.m.

                                             Image 3




         In Image 3, GABLE is seen wearing a black/dark-colored jacket, holding a cellular phone
in his left hand, and facing the interior of the United States Capitol building. In Image 3, GABLE


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is located at the Rotunda Door near an exit to the building. The timestamp for Image 3 is January
6, 2021, at approximately 2:53 pm.

        The FBI provided Witness 1 with seven screenshots of Capitol surveillance footage.
Witness 1 was asked to identify GABLE in each photograph. Witness 1 identified Gable in six out
of the seven screenshots provided to him. Witness 1 was unable to identify GABLE in the below
screenshot (Image 4) because, according to Witness 1, the individual who resembles GABLE is
too far away in the image for Witness 1 to provide a positive identification. Witness 1 indicated
that he assumed the individual in the below screenshot (Image 4) was GABLE based on the
clothing GABLE was wearing in the other photographs provided to him.

                                            Image 4




        According to records obtained through a search warrant served on Verizon, on January 6,
2021, during the riot, the cellphone with the telephone number ending -9477, and subscribed to
GABLE and a second individual, was identified as having utilized a cell site consistent with
providing service to a geographic area that included the interior of the United States Capitol
building. The FBI has reviewed the available information to determine whether there was any
evidence that devices associated with this telephone number could have lawfully been inside the
U.S. Capitol building on January 6, 2021. The information for this telephone number did not match
any information for persons lawfully within the Capitol. Thus, your affiant believes that the
individual possessing this device was not authorized to be within the U.S. Capitol building on
January 6, 2021.

        Finally, records obtained through a search warrant served on Apple contained the below
picture from GABLE’s iCloud account.




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Your affiant has compared this photograph with the screenshots provided above from Capitol
surveillance footage and determined that the individual in the photograph from GABLE’s Apple
iCloud account appears to be the same individual indicated by the yellow arrows in the Capitol
surveillance footage screenshots.

         Based on the foregoing, your affiant submits that there is probable cause to believe that
Levi Gable violated 18 U.S.C. §§ 1752(a)(1) and (2), which makes it a crime to (1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do; and (2)
knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions; or attempts or conspires to do so.
For purposes of Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off,
or otherwise restricted area of a building or grounds where the President or other person protected
by the Secret Service, including the Vice President, is or will be temporarily visiting; or any
building or grounds so restricted in conjunction with an event designated as a special event of
national significance.




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        Your affiant submits there is also probable cause to believe that Levi Gable violated 40
U.S.C. §§ 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly (D) utter
loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place
in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the
orderly conduct of a session of Congress or either House of Congress, or the orderly conduct in
that building of a hearing before, or any deliberations of, a committee of Congress or either House
of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.



                                                     _________________________________
                                                     Alan T. Siska
                                                     Special Agent
                                                     Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this _23__ day of May, 2022.


                                              ___________________________________
                                              HONORABLE ROBIN M. MERIWEATHER
                                              UNITED STATES MAGISTRATE JUDGE




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